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 15
                          CENTRAL DISTRICT OF CALIFORNIA
 16

 17
      FARIBA HEJAZI,                               Case No. CV 20-4796-GW-PJWx
 18                                                Hon. George H. Wu
            PLAINTIFF,
 19
      vs.                                          ORDER FOR DISMISSAL WITH
 20                                                RETENTION OF JURISDICTION
                                                   TO ENFORCE SETTLEMENT
 21
      CVS HEALTH; CVS RX SERVICES,
      INC.; CVS PHARMACY; CVS
 22
      PHARMACY, INC.; CVS CAREMARK
      CORPORATION; CVS CAREMARK;
 23
      CVS HEALTH SOLUTIONS LLC; CVS
      PHARMACY INC. AGENT FOR CVS
 24
      RX SERVICES, INC. 050501917;
      LONGS DRUG STORES CALIFORNIA,
 25
      LLC; LONGS DRUG STORES, LLC;
      and DOES 1 to 100, inclusive,
 26

 27
            DEFENDANTS.
 28

                                 STIPULATION AND [PROPOSED] ORDER
                                                 1
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 1
                                            ORDER

 2

 3
            Pursuant to the parties’ Joint Stipulation, and good cause appearing, the Court

 4    hereby order as follows:
 5

 6            1. Plaintiff’s claims are dismissed with prejudice.
 7
              2. This Court retains jurisdiction pursuant to Code of Civil Procedure section
 8               664.6 to enforce the settlement agreement between the parties.
 9

 10         SO ORDERED.
 11

 12   DATED: April 29, 2021
 13

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 15                                          Hon. George H. Wu
                                             United States District Judge
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                                 STIPULATION AND [PROPOSED] ORDER
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